Case 2:15-cv-01597-GW-RAO Document 188 Filed 11/03/17 Page 1 of 5 Page ID #:3235

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.        CV 15-1597 GW (RAOx)                                      Date   November 3, 2017
 Title           EFT Holdings, Inc. v. CTX Virtual Technologies, Inc., et al




 Present: The Honorable         Jay C. Gandhi, United States Magistrate Judge
           Kristee Hopkins                             None Appearing
                Deputy Clerk                      Court Reporter / Recorder                Tape No.
            Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                     None Appearing                                       None Appearing
 Proceedings:               (IN CHAMBERS) ORDER REGARDING SETTLEMENT
                            CONFERENCE

       The above-captioned matter has been referred to the Hon. Jay C. Gandhi, United
States Magistrate Judge, for a settlement conference.

READ THIS ORDER CAREFULLY.

    THE JUDGE’S SETTLEMENT CONFERENCE MIRRORS THE
TRADITIONAL, COMPREHENSIVE MEDIATION AND THE PARTIES SHALL
PREPARE ACCORDINGLY.

    THE PARTIES AND LEAD COUNSEL SHALL STRICTLY FOLLOW
THESE INSTRUCTIONS OR OTHERWISE SANCTIONS MAY BE IMPOSED.

         Accordingly, IT IS ORDERED as follows:

      1.     Date, Time, and Place
      The parties and their lead trial counsel shall appear for a settlement conference on
December 4, 2017 at 10:00 a.m., in Courtroom 790 of the Edward R. Royal Federal
Building and United States Courthouse, 255 East Temple Street, Los Angeles, CA
90012-3332. The parties and their lead trial counsel shall keep their schedule clear for
the remaining part of the day. No party or counsel shall be excused absent leave from the
Judge or until the settlement conference is adjourned. Violation of this policy may result
in sanctions being imposed.


CV-90 (06/04)                              CIVIL MINUTES - GENERAL                               Page 1 of 5
Case 2:15-cv-01597-GW-RAO Document 188 Filed 11/03/17 Page 2 of 5 Page ID #:3236

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

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       2.     Decision-Makers Must Be Present
       The person with full settlement authority shall be present at the conference.1 A
person with full settlement authority is a person who retains power to change a settlement
position by the events of the day and without consulting a superior. This requirement
contemplates the physical presence of each party or, if a corporate or governmental
entity, of an authorized and knowledgeable representative of the entity. If a proposed
settlement must be presented for approval to a board, committee or other decision-making
body, the person whose recommendation is normally followed must be the person present
at the settlement conference. It is essential that everyone whose decision is necessary for
settlement personally attend and participate in the settlement conference.

      Counsel appearing without their clients (whether or not counsel purportedly have
been given settlement authority) may result in sanctions being imposed. The
noncomplying party, attorney, or both, may be assessed the costs and expenses incurred
by other parties as a result of a cancellation and rescheduling.

      3.     Insurance Company Representative
      Any insurance company that is contractually required to defend or to pay damages
assessed within policy limits shall also have a settlement representative present at the
conference. Such representative must have final settlement authority to commit the
company to pay, in the representative’s discretion, an amount recommended by the
Judge within the policy limits. The purpose of this requirement is to have an insurance
representative present who can settle the outstanding claim or claims during the course of
the conference without consulting a superior. Counsel of record will be responsible for
timely advising any involved non-party insurance company of the requirements of this
Order.




         1
       This means that Local Rule 16-15.5(b) relating to appearance by parties residing outside
    the District does not apply (except to the United States or any of its agencies), i.e., all parties,
    including those residing outside the District, must appear in person.
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                              Page 2 of 5
Case 2:15-cv-01597-GW-RAO Document 188 Filed 11/03/17 Page 3 of 5 Page ID #:3237

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.       CV 15-1597 GW (RAOx)                                      Date   November 3, 2017
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       4.     Settlement Conference Statements
       On or before November 27, 2017, each party shall submit a confidential
mediation statement (or email) directly to the chambers of the Court at
judge_gandhi_mediation@cacd.uscourts.gov. The Statements should not be filed with
the Clerk of the Court, and they will not be made part of the case file. The Statements
shall be in the form of a letter and shall not exceed ten (10) pages in length absent good
cause.

         The Statements shall contain the following information:

                A.    A brief statement of the facts of the case, including each party’s
         claims and defenses. The Brief shall include citations to the applicable statutory or
         other grounds upon which claims or defenses are based. The Brief should identify
         the major factual and legal issues in dispute, and cite any controlling authorities.

                B.     An itemized statement of the monetary damages claimed and of any
         other relief sought, including the evidentiary bases for the monetary damages
         and/or other relief sought.

                C.     A summary of the proceedings to date, including any case
         management dates/deadlines already set, as well as the estimated length of trial,
         and whether a court or jury trial is contemplated. The Statement shall also set forth
         the date(s) any party filed or intends to file any dispositive motion.

                 D.      A history of past settlement discussions, offers and demands.

                E.     A forthright evaluation of the party’s likelihood of prevailing on each
         of his, her, or its claims and/or defenses.

                F.     The approximate amount of attorney’s fees, time and costs expended
         to date, and an estimate of the fees, time and costs to be expended for (i) further
         discovery; (ii) pretrial; and (iii) trial.

                 G.      The party’s evaluation of the terms on which the case could be settled


CV-90 (06/04)                             CIVIL MINUTES - GENERAL                              Page 3 of 5
Case 2:15-cv-01597-GW-RAO Document 188 Filed 11/03/17 Page 4 of 5 Page ID #:3238

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.       CV 15-1597 GW (RAOx)                                      Date   November 3, 2017
 Title          EFT Holdings, Inc. v. CTX Virtual Technologies, Inc., et al


         reasonably and fairly, taking into account the litigation position and settlement
         position of the other side.

               H.    Any other relevant circumstances that counsel believe will assist the
         Court in conducting the settlement conference.

       5.     At the Settlement Conference
       The settlement conference will typically begin with a joint session attended by all
participants. Parties and their counsel should come prepared to summarize their
respective positions during this session. Parties and their counsel may utilize whatever
presentation they believe most effective, including exhibits, charts, audiovisual, and/or
oral presentations by counsel and/or principals. Bear in mind that the goal is not to prove
a case, but to clarify your position to the decision-makers amongst the other parties while
educating the Judge.

       The joint session is followed by private confidential caucuses between the Judge
and each party and counsel. In caucus, you can confidentially discuss information which
may assist in working toward a resolution, but which you prefer not to disclose in direct
negotiations. You should anticipate that the Judge will play “devil’s advocate” to help all
parties gain the most balanced evaluation of the matter. The caucuses also provide an
opportunity to assess realistic options for resolution.

        Caucusing will generally continue until an option has been developed which all
sides believe is acceptable. At the point, the Judge will summarize the settlement. You
may then wish to place the settlement on the record or draft and execute a memorandum
stating the material terms.

       6.     Confidential Communications
       All statements related to the settlement conference, including all comments made
in the joint session and caucuses, are confidential settlement discussions. All statements
made or information disclosed are privileged and cannot be compelled under any
circumstances. Further, the comments of the Judge during caucusing are not to be used
by counsel in settlement negotiations with opposing counsel or in any court proceedings.
This is a necessary requirement in order to avoid intentional or unintentional
misquotation of the Judge’s comments. Violation of this policy may result in sanctions
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                              Page 4 of 5
Case 2:15-cv-01597-GW-RAO Document 188 Filed 11/03/17 Page 5 of 5 Page ID #:3239

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.       CV 15-1597 GW (RAOx)                                      Date    November 3, 2017
 Title          EFT Holdings, Inc. v. CTX Virtual Technologies, Inc., et al


being imposed.

       7.    Sanctions
       The failure of any party or attorney to comply with the requirements of this Order
may result in sanctions being imposed. The sanctions may include, but are not limited to,
the fees and costs expended by the other parties in preparing and attending the settlement
conference.

cc:      Parties of Record


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                                                           Initials of Preparer           kh




CV-90 (06/04)                             CIVIL MINUTES - GENERAL                               Page 5 of 5
